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                16
                17                           UNITED STATES DISTRICT COURT
                18           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                19     JOHN ROE 1, an individual; JANE            Case No. 8-22-CV-00983-DOC-DFM
                       ROE 1, an individual; JANE ROE 2 an
                20     individual; JANE ROE 3, an individual,     MEMORANDUM OF POINTS AND
                       JOHN ROE 2, on behalf of themselves        AUTHORITIES IN SUPPORT OF THE
                21     and all others similarly situated,         STATE BAR OF CALIFORNIA’S
                                                                  MOTION TO DISMISS PLAINTIFFS’
                22                    Plaintiffs,                 FIRST AMENDED COMPLAINT
                23           v.                                   Courtroom:   10A
                24     THE STATE BAR OF CALIFORNIA;               Judge:       Hon. David O. Carter
                       TYLER TECHNOLOGIES, INC.;                  Date:        August 8, 2022
                25     KEVAN SCHWITZER; RICK                      Time:        8:30 a.m.
                       RANKIN; and DOES 4 through 10,
                26     inclusive,
                27                    Defendants.
                28                                                        MEMORANDUM IN SUPPORT OF THE CA
                                                                          STATE BAR’S MOTION TO DISMISS FAC
COOLEY LLP                                                                  CASE NO. 8:22-CV-00983-DOC-DFM
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                   1   I.    INTRODUCTION
                   2        The State Bar of California is a public corporation organized under the
                   3   California Constitution as an administrative arm of the California Supreme Court for
                   4   the licensing and regulation of attorneys. The State Bar’s mandate includes attorney
                   5   licensing and the review and prosecution, where warranted, of alleged attorney
                   6   ethical violations. To carry out these core functions, the State Bar uses the Odyssey
                   7   Portal, an online case management system created and maintained by Tyler
                   8   Technologies, Inc. (“Tyler”). On February 24, 2022, the State Bar learned that
                   9   certain nonpublic attorney discipline data—case number, filing date, case type, case
                10     status, and respondent and complaining witness names (“Docket Data”)—had been
                11     inadvertently harvested from the Odyssey Portal and posted on JudyRecords.com, a
                12     third-party website that aggregates court records and is managed by Kevan
                13     Schwitzer (the “Incident”). The State Bar, Tyler, Schwitzer, and the State Bar’s
                14     interim IT Director, Rick Rankin (collectively, “Defendants”), promptly acted to
                15     remove the Docket Data from JudyRecords.com, which was completed two days
                16     later, on February 26.
                17          The State Bar also issued a public statement about the Incident and posted to
                18     its website Frequently Asked Questions (“FAQs”), which it regularly updated.
                19     Those postings, incorporated by reference into the First Amended Complaint
                20     (“FAC”) and otherwise properly subject to judicial notice, make clear that the
                21     Incident involved only Docket Data, not complaints or other case documents from
                22     underlying disciplinary proceedings. The State Bar also informed the public that
                23     during the time Docket Data was available on JudyRecords.com, only 1,034 records
                24     showed signs of having been viewed (“Viewed Records”), and only six Viewed
                25     Records contained the case type “Mental Health/Substance Abuse.”1 Furthermore,
                26     1
                        Pursuant to California Business & Professional Code § 6007(b)(3), a licensee may
                27     be enrolled as inactive if “because of mental infirmity or illness, or because of
                       habitual use of intoxicants or drugs, [the licensee] is (i) unable or habitually fails to
                28     perform his or her duties or undertakings competently, or (ii) unable to practice law
                       without substantial threat of harm to the interests of his or her clients or the public.”
COOLEY LLP                                                                       MEMORANDUM IN SUPPORT OF THE CA
ATTORNEYS AT LAW
  LOS ANGELES
                                                                  1              STATE BAR’S MOTION TO DISMISS FAC
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                   1   the State Bar said it would voluntarily notify anyone affected by the Incident. In
                   2   May 2022, the State Bar began to send those notification letters and emails. As of
                   3   June 3, 2022, all notifications concerning Viewed Records had been sent.
                   4         Plaintiffs are five anonymous individuals who are either (a) attorneys who
                   5   have been the subject of a State Bar disciplinary proceeding or (b) non-attorneys
                   6   who have submitted complaints against attorneys, i.e., complaining witnesses. Mere
                   7   days after the State Bar announced the Incident, Plaintiffs filed a lawsuit asserting
                   8   seven causes of action. Each of their causes of action is barred or fails to state a
                   9   claim, for the following reasons:
                10           First, Plaintiffs’ claim under the California Information Practices Act (“IPA”)
                11     fails because the IPA does not apply to the State Bar. Plaintiffs also have not
                12     adequately alleged compliance with the California Tort Claims Act (“CTCA”), or
                13     that the State Bar’s purported violation caused them to suffer an “adverse effect.”
                14     Cal. Civ. Code. § 1798.45(c).
                15           Second, Plaintiffs’ two tort claims—negligence and negligence per se—are
                16     barred by the CTCA and, in any event, Plaintiffs do not sufficiently allege the
                17     required elements of duty or actual damages.
                18           Third, Plaintiffs’ invasion of privacy claim under the California Constitution
                19     fails to adequately allege the required elements of specificity or intent.
                20           Fourth, and finally, Plaintiffs’ nonsensical claims under the Sherman Antitrust
                21     Act should be dismissed for myriad reasons, including inter alia that Plaintiffs do
                22     not sufficiently allege specific intent to release information or monopolize a relevant
                23     market by doing so, cognizable anticompetitive conduct, or a causal antitrust injury.
                24     In addition, the State Bar is immune to antitrust suits in its role of administering
                25     attorney disciplinary proceedings. Plaintiffs’ cause of action under Section 3 of the
                26     Sherman Act is both wholly inapplicable in a case that involves no alleged conduct
                27     in federal territories, and fails to state a claim on the merits.
                28           For the reasons below, and because no amendment could cure the deficiencies
COOLEY LLP                                                                         MEMORANDUM IN SUPPORT OF THE CA
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  LOS ANGELES
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                   1   in the already-amended FAC, the case should be dismissed with prejudice.
                   2   II.     STATEMENT OF FACTS
                   3           A.    THE STATE BAR
                   4           The State Bar is a constitutional entity, established by article VI, section 9 of
                   5   the California Constitution, and an integral part of the judicial function of the State
                   6   of California. See Cal. Const., art. VI, § 9; Cal. Bus. & Prof. Code, § 6001; In re
                   7   Rose, 22 Cal.4th 430, 438 (Cal. 2000). It is a public corporation created as an
                   8   administrative arm of the California Supreme Court for the purpose of assisting in
                   9   matters of attorney admission and discipline. See In re Attorney Discipline Sys., 19
                10     Cal.4th 582, 598–99 (Cal. 1998); see also Rosenthal v. Justices of the Sup. Ct. of
                11     Cal., 910 F.2d 561, 566 (9th Cir. 1990); (FAC ¶ 12). Although the State Bar
                12     conducts its disciplinary proceedings under statutory authority, the California
                13     Supreme Court retains inherent power to control all matters related to attorney
                14     discipline. See In re Attorney Discipline Sys., 19 Cal.4th at 600.
                15             A core part of the State Bar’s function is attorney discipline, which includes
                16     reviewing and prosecuting, as necessary, ethics complaints against attorneys. Id. at
                17     589. Disciplinary investigations are confidential until formal charges are publicly
                18     filed. Cal. Bus. & Prof. Code, § 6086.1(b). The State Bar maintains internal records
                19     of disciplinary investigations and proceedings through the Odyssey Portal, an online
                20     case management system created and maintained by Tyler. (FAC ¶¶ 8, 16.) The
                21     Odyssey Portal, which is accessible from the State Bar Court’s website, allows
                22     complainants and respondents to view publicly filed documents from State Bar
                23     Court disciplinary proceedings, i.e., once formal charges are filed. (FAC ¶¶ 17–19.)
                24             B.    JUDYRECORDS COLLECTS AND INDEXES DOCKET DATA
                25             On February 24, 2022, the State Bar learned that confidential Docket Data
                26     was publicly available on JudyRecords.com, in addition to State Bar Court filings
                27     that had always been publicly available on the State Bar website. (Ex. A.2) The
                28     2
                           All citations to “Ex.” refer to the Exhibits attached to the Declaration of Tiana
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                   1   Docket Data consisted of the case number, filing date, case type, case status, and
                   2   names of respondents and complaining witnesses. (Ex. B at 3.)
                   3         JudyRecords.com is a nationwide database of court case records run by
                   4   Schwitzer. (FAC ¶ 7.) Schwitzer created and deployed a program to automatically
                   5   collect information from public-facing websites, a technique colloquially known as
                   6   “scraping,” after which Schwitzer would aggregate the information and index it on
                   7   JudyRecords.com. (Ex. B at 3.)
                   8         The State Bar and Rankin—the principal of RPR Impact, LLC and an
                   9   independent contractor acting as interim IT Director for the State Bar, (FAC ¶ 7)—
                10     swiftly responded to the Incident. Among other things, they immediately disabled
                11     the Odyssey Portal, contacted the hosting provider and domain name registrar for
                12     Judyrecords.com to demand immediate removal of Docket Data, and then worked
                13     with Schwitzer to delete Docket Data from the site. (Ex. B at 4.) The State Bar also
                14     retained a team of IT forensics experts to investigate, demanded that Tyler remediate
                15     all issues in the Odyssey Portal, and submitted a report on the vulnerability to CVE,
                16     a website sponsored by the U.S. Department of Homeland Security’s Cybersecurity
                17     and Infrastructure Security Agency (“CISA”), which identifies, defines, and
                18     catalogues cybersecurity vulnerabilities. (Id.)
                19           By February 26, 2022, JudyRecords.com had permanently removed all
                20     Docket Data from the site. (Id.) Plaintiffs do not allege that Docket Data was
                21     available on any other website or internet archive. Nor do Plaintiffs allege that any
                22     entity or individual besides JudyRecords.com obtained Docket Data.
                23           Defendants’ investigation revealed that the Odyssey Portal had a vulnerability
                24     previously   unknown     to   the   State   Bar.   (Id.     at   3.)      Due    to   that
                25     vulnerability, Schwitzer’s data-scraping program unintentionally collected both
                26     public records and Docket Data, which was not intended to be public. (Id.) Tyler
                27
                       Demas in Support of the State Bar’s Motion to Dismiss the FAC. The State Bar’s
                28     Request for Judicial Notice filed with this motion further explains why the Exhibits
                       are incorporated by reference into the FAC and properly judicially noticeable.
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                   1   addressed the security vulnerability, and the Odyssey Portal was back online by
                   2   March 15. (Id. at 1.)
                   3         The investigation also revealed the limited scope of the information on
                   4   JudyRecords.com. (Id.) Overall, JudyRecords.com scraped and indexed 322,525
                   5   Docket Data records, which would not ordinarily have been viewable by the public
                   6   on the Odyssey Portal. (Id. at 2.) Only 1,034 of the 322,525 Docket Data records
                   7   showed signs of having been viewed (i.e., a page view). (Id.) Of these 1,034
                   8   Viewed Records, only six contained the case type: “Inactive 6007(b)(3) Mental
                   9   Illness or Substance Abuse.” (Id. at 1.) None of the Plaintiffs allege that they were
                10     involved in this type of proceeding, and none allege that their Docket Data showed
                11     evidence of a page view. (See FAC ¶¶ 1–5.3)
                12           The State Bar promptly and transparently informed the public about the
                13     Incident by immediately issuing a press release and providing regular updates on a
                14     dedicated webpage.      (See Exs. A, B.)       Although not subject to any statutory
                15     notification requirement, the State Bar has begun the process of informing the
                16     individuals associated with the 322,525 Docket Data records. The State Bar has
                17     already notified the approximately 1,300 individuals whose names appeared on
                18     Viewed Records, including the six individuals whose Docket Data contained a
                19     reference to mental illness or substance abuse. (Ex. B at 1.) None of the Plaintiffs
                20     allege they are in this group.
                21           C.     PLAINTIFFS
                22           Plaintiffs are five anonymous individuals who allege that the State Bar
                23     3
                         The other potential case types are listed in the notice letter sent to certain
                24     respondents and linked in the State Bar FAQs website: 6180/6190, 9.20 Violation -
                       State Bar Court Order, ADP, Agreement in Lieu of Discipline, Conviction Matter,
                25     Discipline in Other Jurisdiction, Early Neutral Evaluation Conference, Moral
                       Character, Original Matter, Other, Pre-filing Motion to Quash, Probation, Probation
                26     Violation, RA - Insufficient Funds, RA - Insurance Claim, RA - Reversal of
                       Judgment, RA - Sanction Order, Reinstatement, Reproval, Resignation with Charges
                27     Pending, Rule 2605 - Vexatious Complainant, Rule. 9.20 - Interim Conviction
                       Matter, Rule 9.20 - Order, Rule 9.20 - Resignation, and Unauthorized Practice of
                28     Law - Non-Attorney. Some of these reflect internal State Bar coding references.
                       (Ex. B at 1 (Sample respondent notice, available at https://tinyurl.com/yc473bpr).)
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                   1   maintains disciplinary records that include their information in some way. John Roe
                   2   1 and Jane Roe 1 allegedly filed complaints against attorneys. (FAC ¶¶ 1, 2.) Jane
                   3   Roe 2, Jane Roe 3, and John Roe 2 allegedly are or were attorneys licensed to
                   4   practice law in the State of California and the subjects of complaints. (Id. ¶¶ 3–5.)
                   5   Plaintiffs say they live in California but otherwise provide no details about
                   6   themselves.    Plaintiffs do not allege that Docket Data pertaining to them
                   7   was affected in any way by the Incident, nor do they allege receiving notification
                   8   letters from the State Bar stating that their Docket Data was viewed by anyone. (Ex.
                   9   B at 1.)
                10           D.      THE COMPLAINT AND THE FIRST AMENDED COMPLAINT
                11           On March 24, 2022, Plaintiffs served the State Bar with a summons and
                12     complaint filed in California state court, alleging claims arising from the Incident
                13     against the State Bar, JudyRecords.com, and a series of anonymous “Doe”
                14     defendants. Plaintiffs have since amended that complaint three times. First, on
                15     March 24, they substituted Schwitzer for JudyRecords.com. Second, on March 25,
                16     they substituted Tyler for Doe Defendant 1. Third, on April 13, Plaintiffs filed the
                17     FAC. Among other changes, the FAC: (1) added another anonymous plaintiff (John
                18     Roe 2); (2) substituted Rankin for Employee Doe; (3) removed two causes of action
                19     alleging violations of Plaintiffs’ rights to informational privacy and equal protection
                20     under 42 U.S.C. § 1983; (4) added causes of action for common-law negligence and
                21     negligence per se; and (5) altered various other substantive allegations. (See Dkt. 1.)
                22           The FAC lodges seven causes of action against various groupings of
                23     defendants: (1) violation of the IPA; (2) invasion of privacy under article I, section 1
                24     of the California Constitution; (3) invasion of privacy under California Civil Code
                25     section 1798.53; (4) violation of section 2 of the Sherman Antitrust Act;
                26     (5) violation of section 3 of the Sherman Antitrust Act; (6) negligence; and
                27     (7) negligence per se. All but the third cause of action are brought against the State
                28     Bar. Plaintiffs seek to represent a putative class of California residents who are
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                   1   identified in “nonpublic” records indexed on JudyRecords.com, excluding the Court,
                   2   Defendants, and any associates.
                   3           On May 13, with consent from all named defendants, Tyler removed the case
                   4   to federal court. (Dkt. 1.) On May 20, the Court granted Plaintiffs’ stipulated
                   5   request to dismiss Schwitzer from the FAC. (Dkt. 26.) The State Bar now files this
                   6   motion to dismiss.4
                   7   III.    LEGAL STANDARD
                   8           To survive a motion to dismiss for failure to state a claim under Federal Rule
                   9   of Civil Procedure 12(b)(6), a plaintiff must allege “enough facts to state a claim to
                10     relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
                11     (2007). Such factual allegations must suffice to create “more than a sheer possibility
                12     that a defendant has acted unlawfully,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
                13     and thereby “raise a right to relief above the speculative level,” Twombly, 550 U.S.
                14     at 555. In other words, a complaint must contain “more than labels and conclusions,
                15     and a formulaic recitation of the elements of a cause of action will not do.” Id.
                16     Although a court must accept the allegations in the complaint as true and construe
                17     them in the light most favorable to the plaintiff, the “court is not required to accept
                18     legal conclusions cast in the form of factual allegations if those conclusions cannot
                19     reasonably be drawn from the facts alleged.” Clegg v. Cult Awareness Network, 18
                20     F.3d 752, 754–55 (9th Cir. 1994).
                21             A district court generally will not consider evidence or documents beyond the
                22     complaint in the context of a Rule 12(b)(6) motion to dismiss. See Hal Roach
                23     Studios, Inc. v. Richard Feiner & Co., Inc., 896 F.2d 1542, 1550 (9th Cir. 1990).
                24     Courts may, however, “consider certain materials—documents attached to the
                25     complaint, documents incorporated by reference in the complaint, or matters of
                26     judicial notice—without converting the motion to dismiss into a motion for
                27
                28     4
                           Pursuant to Local Rule 7-3, the parties met and conferred on May 26, 2022.
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                   1   summary judgment.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
                   2   IV.   ARGUMENT
                   3         A.     PLAINTIFFS FAIL TO STATE A CLAIM FOR VIOLATION OF THE IPA
                   4         Plaintiffs’ IPA claim should be dismissed for three independent reasons:
                   5   (1) the State Bar is not subject to the IPA; (2) Plaintiffs do not adequately allege the
                   6   requisite compliance with the CTCA; and (3) the FAC fails to sufficiently allege that
                   7   the State Bar’s purported violation caused them to suffer an “adverse effect.” Cal.
                   8   Civ. Code. § 1798.45(c).
                   9                i.    The State Bar is Not Subject to the IPA
                10           Plaintiffs’ first cause of action alleges that the State Bar is subject to duties
                11     imposed by California Civil Code § 1798.29 because it “is a public corporation that
                12     owns or licenses computerized data that includes personal information of California
                13     residents.” (FAC ¶ 52.) The IPA applies to an “agency,” but as defined in the
                14     statute, that term expressly excludes “any agency established under Article VI of the
                15     California Constitution.” Cal. Civ. Code 1798.3(b)(2). Because the State Bar is
                16     established under article VI, section 9 of the California Constitution, it is not an
                17     “agency” under the IPA and cannot be held liable. See Damner v. Facebook Inc.,
                18     2020 WL 7862706, at *8 (N.D. Cal. Dec. 31, 2020) (ruling IPA claim “fails as a
                19     matter of law” because Facebook is not a state agency). Plaintiffs’ IPA claim cannot
                20     be cured through amendment; the Court should dismiss it with prejudice. See
                21     Soublet v. Cnty. of Alameda, 2018 WL 6268872, at *6 (N.D. Cal. Nov. 29, 2018).5
                22                  ii.   Plaintiffs Fail to Satisfy the CTCA
                23           Even if the State Bar were subject to the IPA, which it is not, Plaintiffs’ IPA
                24     claim requires dismissal for another reason: the FAC fails to allege that each of the
                25     five Plaintiffs complied with the CTCA’s administrative claim presentation
                26     requirement. “[N]o suit for money or damages may be brought against a public
                27
                       5
                         Notwithstanding the IPA’s inapplicability, the State Bar voluntarily notified
                28     impacted individuals. (Ex. B at 1.)
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                   1   entity on a cause of action for which a claim is required to be presented . . . until a
                   2   written claim therefor has been presented to the public entity and has been acted
                   3   upon by the board, or has been deemed to have been rejected by the board.” Cal.
                   4   Gov. Code § 945.4. “A plaintiff suing the state or a local public entity must allege
                   5   facts demonstrating either compliance with the claim presentation requirement or an
                   6   excuse for noncompliance as an essential element of the cause of action.” Ovando v.
                   7   Cnty. of L.A., 159 Cal.App.4th 42, 65 (2008). In an action against a government
                   8   entity or its employees, failure to allege compliance with claims presentation
                   9   requirement is grounds for dismissal. Cal. Code of Civ. Proc., § 430.10(e); State of
                10     California v. Super. Ct., 32 Cal.4th 1234, 1239 (2004); see also City of San Jose v.
                11     Super. Ct., 12 Cal.3d 447, 545 (1974) (ruling that compliance with the presentation
                12     requirement is mandatory).6
                13           The FAC fails to allege CTCA compliance for at least three reasons. First,
                14     although there are five Plaintiffs, the FAC alleges only that “a claim was filed with
                15     the State Bar of California even though a private right of action exists outside the
                16     Tort Claims Act . . . .” (FAC ¶ 42.) Simple math shows that if a single claim was
                17     presented, not all five Plaintiffs have complied with the claim presentation
                18     requirement. Second, the FAC does not specify which Plaintiff, if any, presented a
                19     claim, nor can the State Bar discern this from Plaintiffs’ anonymous pleading. See
                20     Section IV.E, infra. Third, the FAC fails to allege that any complaint was “acted
                21     upon” by the State Bar. The IPA claim should be dismissed. See City of Stockton v.
                22     Super. Ct., 42 Cal.4th 730, 734 (2007) (holding that failure to present a timely claim
                23     under the CTCA bars suit against the entity).
                24                  iii.   The FAC Fails to Allege that Plaintiffs Suffered Any Adverse
                                           Effect
                25
                             The IPA claim also fails because the FAC does not allege that the State Bar’s
                26
                       6
                27       The presentation requirement serves several purposes, including giving a state
                       entity the timely opportunity to investigate, determine facts, settle meritorious
                28     claims, and protect itself from fraudulent ones. See Dilts v. Cantua Elem. Sch. Dist.,
                       189 Cal.App.3d 27, 32 (1987).
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                   1   purported violations adversely affected Plaintiffs. Cal. Civ. Code § 1798.45(c).
                   2   “[A]n essential element of a claim under the IPA is proof that as a proximate result
                   3   of the agency’s failure to comply with the IPA there was an ‘adverse effect’ on the
                   4   plaintiff.” Lachtman v. Regents of Univ. of Cal., 158 Cal.App.4th 187, 212 (2007)
                   5   (quoting Cal. Civ. Code. § 1798.45(c)); see also Hobbs v. Franchise Tax Bd., No.
                   6   C047391, 2005 WL 3540851, at *3 (Cal. Ct. App. Dec. 28, 2005) (explaining that an
                   7   “essential element” of an IPA claim “is proof that the plaintiffs suffered an adverse
                   8   consequence as the result of violations”).
                   9         Here, Plaintiffs baldly allege that they “have been harmed” because the State
                10     Bar violated three provisions of the IPA, and thus they are entitled to “emotional
                11     distress damages for the worry, delay, anxiety and extreme distress.” (FAC ¶ 62.)
                12     Nothing more. These threadbare allegations are insufficient to sustain the damages
                13     element of an IPA claim. See Lachtman, 158 Cal.App.4th at 212 (dismissing IPA
                14     claim where the plaintiff failed show “that any purported disclosure of his student
                15     records with other students had an adversely effected [sic] on him”). For example,
                16     Plaintiffs do not specifically state that any information about them was released in
                17     the Incident, and if so, what that information was, who accessed it, and how this
                18     caused Plaintiffs to be adversely affected.7 Because Plaintiffs “fail[] to identify
                19     what, if any, harm [they] suffered as a result of” the disclosure (if any) of the Docket
                20     Data, id., the IPA claim must be dismissed.
                21           B.     PLAINTIFFS FAIL TO STATE A CLAIM FOR INVASION OF PRIVACY
                                    UNDER THE CALIFORNIA CONSTITUTION
                22
                23           To state a claim for invasion of privacy in violation of the California
                24     Constitution, Plaintiffs must sufficiently allege three elements: “(1) a legally
                25     protected privacy interest; (2) a reasonable expectation of privacy in the
                26
                       7
                27      Insofar as Plaintiffs allege harm from a delay in notification, any such allegation is
                       contradicted by the FAC, which concedes that the State Bar discovered the Incident
                28     on February 24, 2022, (FAC ¶ 27), and publicly disclosed it two days later, (Ex. A).
                       As discussed supra at Section IV.A.i, the State Bar is not subject to the IPA.
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                   1   circumstances; and (3) conduct by defendant constituting a serious invasion of
                   2   privacy.”   Hill v. Nat’l Collegiate Athletic Assn., 7 Cal.4th 1, 39–40 (1994).
                   3   Plaintiffs’ allegations do not meet any of these three elements.
                   4         Plaintiffs utterly fail to satisfy the third element because the FAC does not
                   5   plead either an egregious or intentional act. “Actionable invasions of privacy must
                   6   be sufficiently serious in their nature, scope, and actual or potential impact to
                   7   constitute an egregious breach of the social norms underlying the privacy right.” Id.
                   8   at 37 (emphasis added). In the data-security context, “[l]osing personal data through
                   9   insufficient security doesn’t rise to the level of an egregious breach of social norms.”
                10     Razuki v. Caliber Home Loans, Inc., 2018 WL 2761818, at *2 (S.D. Cal. June 8,
                11     2018); see also Ruiz v. Gap, Inc., 540 F. Supp. 2d 1121, 1128 (N.D. Cal. 2008),
                12     aff’d, 380 F. App’x 689 (9th Cir. 2010) (dismissing IPA claim where two stolen
                13     laptops contained unencrypted personal information about approximately 800,000
                14     job applicants because “[t]his increased risk and the manner in which it was
                15     allegedly created . . . d[id] not constitute an egregious breach”). Here, Plaintiffs do
                16     not even allege what data of theirs was made available, let alone whether making
                17     that data available was an “egregious breach of social norms.” Hill, 7 Cal.4th at 37.8
                18           As to the first two elements, the FAC avers only that Plaintiffs “had a legally
                19     protected privacy interest” and “had a reasonable expectation of privacy” in the
                20     Docket Data. (FAC ¶¶ 66, 68.) Such allegations “are simply a bare recitation of the
                21     elements of a privacy claim” and thus are “fatally conclusory.” In re Yahoo Mail
                22     Litig., 7 F. Supp. 3d 1016, 1041 (N.D. Cal. 2014); see also Zbitnoff v. Nationstar
                23     8
                         Even conduct that “leads to theft of highly personal information, including social
                24     security numbers, does not approach the standard of actionable conduct under the
                       California Constitution and thus does not constitute a violation of Plaintiffs’ right to
                25     privacy.” In re iPhone Application Litig., 844 F. Supp.2d 1040, 1063 (N.D. Cal.
                       2012) (holding disclosure of unique device identifier number, personal data, and
                26     geolocation information does not constitute an “egregious breach” (internal
                       quotation marks and citation omitted)); see also Belluomini v. Citigroup, Inc., 2013
                27     WL 3855589, at *6 (N.D. Cal. July 24, 2013) (ruling disclosure of Social Security
                       numbers and contact information does not constitute an “egregious breach”).
                28     Plaintiffs do not allege that any of their highly personal information was affected by
                       the Incident, and thus cannot satisfy the third element.
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                   1   Mortg., LLC, 2014 WL 1101161, at *4 (N.D. Cal. Mar. 18, 2014) (dismissing claim
                   2   because “plaintiff fail[ed] to plead her [California] constitutional [privacy] claim
                   3   with the required specificity”); Scott–Codiga v. Cnty. of Monterey, 2011 WL
                   4   4434812, at *7 (N.D. Cal. Sept. 23, 2011) (dismissing claim because plaintiff had
                   5   not “specified the material defendants released to the public in enough detail for the
                   6   Court to determine whether it might conceivably fall within a recognized privacy
                   7   interest protected by the [California] constitution” (internal citation omitted)).
                   8         Additionally, for an invasion to be “serious,” the plaintiff must allege an
                   9   intentional invasion of their privacy.          Dugas v. Starwood Hotels & Resorts
                10     Worldwide, Inc., 2016 WL 6523428, at *12 (S.D. Cal. Nov. 3, 2016) (dismissing
                11     complaint that failed to allege facts “suggest[ing] that the data breach was an
                12     intentional violation of Plaintiff’s and other class members’ privacy, as opposed to
                13     merely a negligent one”). The FAC does not allege any well-pled fact that the State
                14     Bar intentionally invaded Plaintiffs’ privacy. At best, Plaintiffs aver that the State
                15     Bar intentionally transferred records to Tyler to upload to the Odyssey Portal, but
                16     that was no more than a necessary step in creating the online case management
                17     system and is not an intentional invasion of privacy. The FAC’s bare allegation that
                18     the records were published on JudyRecords.com “[a]s a direct and proximate result
                19     of the intentional conduct by Rick Rankin, Tyler Technologies, the State Bar of
                20     California, and Kevan Schwitzer,” (FAC ¶ 25), is simply too vague.                This is
                21     especially true given the absence of any allegation about what specific information
                22     about any Plaintiff was posted or how it was sensitive in nature.
                23           The invasion of privacy claim is deficient at every level and should be
                24     dismissed without leave to amend.
                25           C.     PLAINTIFFS FAIL TO STATE A CLAIM FOR EITHER NEGLIGENCE OR
                                    NEGLIGENCE PER SE
                26
                27           Plaintiffs’ negligence claims should be dismissed for several independent
                28     reasons: (1) they are barred by the CTCA; (2) the FAC fails to sufficiently allege
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                   1   that the State Bar owed Plaintiffs a duty; (3) the FAC does not allege actual damages
                   2   sufficient to support the negligence claims; and (4) Plaintiffs fail to establish that the
                   3   State Bar violated any law to support a negligence per se theory.
                   4                i.     The CTCA Bars Plaintiffs’ Negligence Claims
                   5         The CTCA sets forth the general rule that “a public entity is not liable for an
                   6   injury” caused by the public entity or its employees, “[e]xcept as otherwise provided
                   7   by statute.” Cal. Gov. Code § 815. Thus, “[i]f the Legislature has not created a
                   8   statutory basis for it, there is no government tort liability.” State ex rel. Dep’t. of
                   9   Cal. Highway Patrol v. Super. Ct., 60 Cal.4th 1002, 1009 (2015); see also Miklosy v.
                10     Regents of Univ. of Cal., 44 Cal.4th 876, 899 (2008) (ruling “our own decisions
                11     confirm that section 815 abolishes common law tort liability for public entities”).
                12           As a “public entity,” the State Bar qualifies for the CTCA’s protections. Cal.
                13     Gov. Code, § 815(a); see, e.g, Cal. Const., art. VI, § 9 (“The State Bar of California
                14     is a public corporation.”); Cal. Bus. & Prof. Code, § 6001 (same). Thus, California
                15     courts have recognized that “the [CTCA] applies to tort allegations against the State
                16     Bar.” Smith v. State Bar, 212 Cal.App. 3d 971, 976 (Ct. App. 1989); see also Konig
                17     v. State Bar of Cal., 2004 WL 2091990, at *6 (N.D. Cal. Sept. 16, 2004) (citing
                18     Smith with approval). Plaintiffs do not identify any statutory basis for their tort
                19     claims (with the exception of the IPA, which does not apply to the State Bar);
                20     accordingly, those claims are barred by the CTCA and must be dismissed.
                21                  ii.    Plaintiffs Fail to Allege Duty
                22           To state a claim for negligence, Plaintiffs must sufficiently allege inter alia
                23     that the State Bar owed Plaintiffs a duty. See Paz v. State, 22 Cal.4th 550, 559
                24     (2000). Here, Plaintiffs assert that the State Bar owed them duties to (1) provide
                25     reasonable notice of the breach; (2) provide steps to take to protect themselves;
                26     (3) institute proper security measures to keep the information confidential; and/or
                27     (4) maintain proper security measures to ensure the information remained
                28     confidential. (FAC ¶ 115.) No such duties exist.
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                   1         With respect to the first and second grounds, which both allege a duty to
                   2   notify, the only possible source of such a duty identified in the FAC is the IPA,
                   3   which does not apply to the State Bar. See Section IV.B, supra. Plaintiffs allege no
                   4   other statute or other authority establishing that the State Bar has a duty to notify.
                   5   Similarly, with respect to the third and fourth grounds, Plaintiffs offer no statute or
                   6   other authority establishing that the State Bar had a duty to institute or maintain any
                   7   particular security measures, let alone “proper” measures as alleged in the FAC.
                   8                iii.   Plaintiffs’ Negligence Claims Fail for Lack of Injury
                   9         “Under California law, appreciable, nonspeculative, present harm is an
                10     essential element of a negligence cause of action.” In re Sony Gaming Networks &
                11     Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942, 962 (S.D. Cal. 2012).
                12           As a preliminary matter, Plaintiffs’ allegations of injury are too threadbare to
                13     support a negligence claim. For example, Plaintiffs allege they suffered emotional
                14     distress, but they do not offer a single concrete detail describing how any individual
                15     Plaintiff was affected. Holly v. Alta Newport Hosp., Inc., 2020 WL 1853308, at *6
                16     (C.D. Cal. Apr. 10, 2020) (holding “although actual damages can include emotional
                17     distress, a plaintiff must support [their] claim for pain and suffering with something
                18     more than [their] own conclusory allegations, such as specific claims of genuine
                19     injury” (internal quotation marks and citation omitted)). Similarly, Plaintiffs allege
                20     they spent time and incurred expenses responding to the disclosure of their
                21     disciplinary records, but they do not include any well-pled facts to support that
                22     claim, such as what remedial steps they took or costs they incurred (if any). Such
                23     barebones allegations do not suffice to state a claim.
                24           In addition to being overly conclusory, each of the types of alleged damages
                25     are insufficient as a matter of law:
                26           Emotional Distress.      Plaintiffs allege that the Incident has caused them
                27     emotional distress, such as worry, anxiety, fear, paranoia, shame, and depression.
                28     (FAC ¶¶ 38, 41, 119, 128.) But Plaintiffs premise their alleged emotional distress
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                   1   on the theory that “[t]he State Bar could have released [their] fingerprints and social
                   2   security numbers along with investigation information.”          (FAC ¶ 38 (emphasis
                   3   added).) The FAC contains zero allegations that any of Plaintiffs’ information that
                   4   was actually disclosed. Such hypothetical harm and injury cannot sustain a claim for
                   5   emotional damages. Ruiz v. Gap, Inc., 622 F. Supp. 2d 908, 913–14 (N.D. Cal.
                   6   2009), aff’d, 380 Fed. Appx. 689 (9th Cir. 2010) (holding that “[u]nder California
                   7   law, appreciable, nonspeculative, present harm is an essential element of a
                   8   negligence cause of action”).
                   9         Furthermore, the FAC and its incorporated documents support only that
                10     certain surface-level Docket Data was scraped and indexed by JudyRecords.com,
                11     nothing else.   For example, the Whittier Daily News article cited in the FAC
                12     reported that the only information exposed was “case number, type, status, file date
                13     and respondent and complaining witness names.” (FAC ¶ 32; Ex. C.) Similarly, the
                14     State Bar’s website—which the FAC repeatedly cites, (see FAC ¶¶ 6, 8, 30, 36)—
                15     states only that “limited case profile data” (i.e., Docket Data) was available, (Ex. B
                16     at 3). At most, this Docket Data contained six records with the words “mental
                17     health/substance abuse” (and none of the Plaintiffs allege their records contain this
                18     notation). Taken together, the allegations and incorporated documents contradict
                19     and render implausible Plaintiffs’ unsupported suggestion that their fingerprints and
                20     Social Security numbers “could have” been released in the Incident. Plaintiffs’
                21     deficient and conclusory claims for emotional distress should be rejected. Colony
                22     Cove Props., LLC v. City of Carson, 640 F.3d 948, 955 (9th Cir. 2011) (ruling
                23     “court need not accept as true conclusory allegations that are contradicted by
                24     documents referred to in the complaint”) (citing Iqbal, 556 U.S. at 679)).
                25           Lost Time and Expense. Plaintiffs allege that because of the Incident they
                26     “spen[t] time and expense trying to figure out what they could do to protect
                27     themselves, their reputation and/or their health wellbeing.” (FAC ¶ 128; see also ¶¶
                28     41, 119.) Yet again, Plaintiffs’ allegations are deficient: they do not identify a single
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                   1   concrete action they took or expense they incurred to mitigate any purported effect
                   2   of the Incident. Lacking such well-pled facts, the claim is fatally conclusory.
                   3         Plaintiffs also fail to show that spending time and expense was “reasonable
                   4   and necessary” in context. Gardiner v. Walmart Inc., 2021 WL 2520103, at *6
                   5   (N.D. Cal. Mar. 5, 2021); see also, e.g., Greenstein v. Noblr Reciprocal Exch., 2022
                   6   WL 472183, at *6 (N.D. Cal. Feb. 15, 2022) (ruling in Article III standing context
                   7   that “mitigation expenses cannot establish an injury in the absence of a real and
                   8   imminent risk of harm”); Antman v. Uber Techs., Inc., 2018 WL 2151231, at *10
                   9   (N.D. Cal. May 10, 2018) (holding “mitigation expenses do not qualify as injury
                10     because the risk of identity theft must be real before mitigation can establish [Article
                11     III] injury in fact”); Corona v. Sony Pictures Entm’t, Inc., 2015 WL 3916744, at *4
                12     (C.D. Cal. June 15, 2015) (finding credit monitoring may be “compensable where
                13     evidence shows that the need for future monitoring is a reasonably certain
                14     consequence of the defendant’s breach of duty”). Nowhere do Plaintiffs allege that
                15     any particular action or expense would have been a reasonable and necessary
                16     response to this Incident, especially given Plaintiffs’ awareness that the limited
                17     information at issue—the Docket Data—is not the type that can be used to steal
                18     someone’s identity. Burns v. Mammoth Media, Inc., 2021 WL 3500964, at *3 (C.D.
                19     Cal. Aug. 6, 2021) (holding “Plaintiff’s allegations as to the likelihood of identity
                20     theft and fraud” were “impossible to square” with the fact that “Plaintiff’s
                21     compromised information did not include his birth date, address, social security
                22     number, or any financial information”).
                23           Future Injury. Although Plaintiffs recite a list of what “could” happen as a
                24     result of the Incident, such as “reputational harm” or “stalking,” these allegations are
                25     wholly speculative. (FAC ¶¶ 38–39.) At no point does the FAC demonstrate that
                26     any of these harms actually occurred. Allegations of “mere danger of future harm,
                27     unaccompanied by present damage, will not support a negligence claim.” Aguilar v.
                28     Hartford Accident & Indem. Co., 2019 WL 2912861, at *2 (C.D. Cal. Mar. 13,
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                   1   2019); see also Holly, 2020 WL 1853308, at *6 (explaining “bare allegation of
                   2   increased risk of identity theft is too speculative to satisfy the pleading requirement
                   3   to show actual damages” (internal quotation marks and citation omitted)). Such
                   4   alleged future injury cannot sustain the damages element here.
                   5         Delayed Notification. To the extent Plaintiffs’ negligence claim is predicated
                   6   on the State Bar’s alleged “delay and failure to notify” them, that argument also
                   7   fails. (FAC ¶ 119; see also id. ¶¶ 28, 41, 91.) To adequately state a negligence
                   8   claim on this theory, Plaintiffs must allege “cognizable injury proximately caused”
                   9   by an unreasonable delay. In re Sony Gaming Networks & Customer Data Sec.
                10     Breach Litig., 996 F. Supp. 2d 942, 965 (S.D. Cal. 2014) (dismissing negligence
                11     claim predicated on delay in notification because plaintiffs’ allegations of economic
                12     injury traceable to delay were “implausible”); see also In re Adobe Sys., Inc. Priv.
                13     Litig., 66 F. Supp. 3d 1197, 1217 (N.D. Cal. 2014) (ruling plaintiffs must show
                14     “incremental harm as a result of the delay”). Here, even if the State Bar owed a duty
                15     to notify—and no such duty exists, see Section IV.C.ii, supra—Plaintiffs allege no
                16     incremental injury arising from any delayed notification, or that any delay was
                17     unreasonable enough to support a claim here.
                18           Physical Injury. The FAC does not allege any physical injuries apart from
                19     one unsupported allegation that Plaintiffs suffered a “loss of sleep.” (FAC ¶¶ 119,
                20     129.) That allegation is too conclusory to withstand a motion to dismiss. See, e.g.,
                21     Gadomski v. Patelco Credit Union, 2022 WL 223878, at *3 (E.D. Cal. Jan. 25,
                22     2022) (holding that an allegation that plaintiff “suffered humiliation, embarrassment,
                23     anxiety, loss of sleep, emotional distress, and defamation of character” was too
                24     conclusory to survive a motion to dismiss.).
                25           Economic Damages. To the extent that Plaintiffs allege economic losses,
                26     those injuries are barred by the “economic loss rule,” which prohibits the recovery of
                27     purely economic loss in the “absence of (1) personal injury, (2) physical damage to
                28     property, (3) a ‘special relationship’ existing between the parties, or (4) some other
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                   1   common law exception to the rule.” Kalitta Air, L.L.C. v. Cent. Tex. Airborne Sys.,
                   2   Inc., 315 F. App’x 603, 605 (9th Cir. 2008) (finding “recovery of purely economic
                   3   loss is foreclosed”). Plaintiffs have failed to allege that any of the exceptions to the
                   4   economic loss rule apply to them; the negligence claims must be dismissed.
                   5                iv.   Plaintiffs’ Negligence Per Se Theory Is Unsupported
                   6         The negligence per se claim must be dismissed because the FAC alleges no
                   7   law that would support such a claim. Plaintiffs assert negligence and negligence per
                   8   se as two separate claims. (FAC ¶¶ 112–29.) However, “under California law,
                   9   negligence per se is a doctrine, not an independent cause of action.” Dent v. Nat’l
                10     Football League, 902 F.3d 1109, 1117 (9th Cir. 2018). “Under [the] doctrine, a
                11     statute may establish the standard of care” for which “the defendant's violation of a
                12     statute can give rise to a presumption that it failed to exercise due care.” Id. at
                13     1118. The FAC alleges negligence per se on only two grounds: (1) the State Bar’s
                14     alleged violations of the IPA and (2) the California Constitution. (FAC ¶ 127.)
                15     Because the State Bar is not subject to the IPA and did not violate it or the California
                16     Constitution, as discussed above, Plaintiffs’ negligence per se theory fails.
                17           D.     PLAINTIFFS FAIL TO STATE A SHERMAN ACT CLAIM
                18           Plaintiffs’ antitrust allegations against the State Bar are unusual, to say the
                19     least. Plaintiffs appear to allege that there is a grand conspiracy to use the State
                20     Bar’s disciplinary process to harm solo practitioners in favor of large law firms.
                21     (FAC ¶¶ 81–105.) That, of course, is utterly implausible, especially on the scant
                22     factual allegations in the FAC. Nor is there any authority to suggest that such a
                23     conspiracy, even if well-pled, would run afoul of the Sherman Act. Both Sherman
                24     Act claims should be dismissed for the reasons below.
                25                  i.    Plaintiffs’ Section 2 Allegations Fail to State a Claim
                26           Nothing alleged in the FAC remotely resembles an antitrust claim under
                27     Section 2 of the Sherman Act.             Plaintiffs repeat the refrain “attempted
                28     monopolization,” (FAC ¶ 84), but this case does not fit into that well-established
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                   1   Section 2 paradigm, which requires the plaintiff to demonstrate “(a) the possession
                   2   of monopoly power in the relevant market; (b) the willful acquisition or maintenance
                   3   of that power; and (c) causal anti-trust injury.” Allied Orthopedic Appliances, Inc. v.
                   4   Tyco Health Care Grp. LP, 592 F.3d 991, 998 (9th Cir. 2010); see also U.S. v.
                   5   Grinnell Corp., 384 U.S. 563, 570–71 (1966). Further, attempted monopolization
                   6   under Section 2 requires that a plaintiff allege “(1) a specific intent to monopolize a
                   7   relevant market; (2) predatory or anticompetitive conduct; and (3) a dangerous
                   8   probability of success.” Catlin v. Wash. Energy Co., 791 F.2d 1343, 1348 (9th Cir.
                   9   1986).9 The FAC does not satisfy any of these required elements.
                10           First, Plaintiffs allege no facts demonstrating that the State Bar had the
                11     specific intent to release any information as part of the Incident or to monopolize a
                12     relevant market by doing so. The only allegation about the State Bar’s intent is that
                13     it “directly or indirectly through Tyler Technologies intentionally decided to open its
                14     port(s) and publish all its public records concerning disciplinary proceedings.”
                15     (FAC ¶ 17.) Such a vague allegation falls well short of the mark: it is unsupported
                16     by any well-pled fact and, even if credited, does not show an intent to release
                17     confidential information to the public as part of a monopolization scheme. Nor is
                18     any intent to monopolize shown by the documents Plaintiffs incorporated into the
                19     FAC by reference; quite the opposite. Specifically, the State Bar issued multiple
                20     public statements (on its FAQs webpage) that it did not intend to allow the Docket
                21     Data records to be harvested or indexed on JudyRecords.com, and it was unaware of
                22     the Odyssey Portal vulnerability. (See generally Ex. B.) Plaintiffs’ failure to aver
                23     any fact to the contrary dooms their claim. See Daniels-Hall v. Nat’l Educ. Ass’n,
                24     629 F.3d 992, 998 (9th Cir. 2010) (“We are not, however, required to accept as true
                25
                       9
                26       For the same reasons that the FAC fails to allege an attempted monopolization
                       claim, it also fails to state a claim for conspiracy to monopolize, which requires
                27     allegations of “(1) an agreement or understanding between [alleged conspirators];
                       (2) a specific intent to monopolize; and (3) overt acts in furtherance of the alleged
                28     conspiracy.” Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 516 F. Supp. 2d
                       324, 341 (D. Del. 2007), aff’d, 602 F.3d 237 (3d Cir. 2010).
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                   1   allegations that contradict exhibits attached to the Complaint or matters properly
                   2   subject to judicial notice, or allegations that are merely conclusory, unwarranted
                   3   deductions of fact, or unreasonable inferences.”).
                   4         The FAC also fails to allege a relevant market that the State Bar could have
                   5   attempted to monopolize. To define a market, the court must determine: (1) “the
                   6   field in which the plaintiff was engaged . . . in geographic and distributional terms,”
                   7   and (2) “the product (or product line) that competes in that field.” JBL Enters., Inc.
                   8   v. Jhirmack Enters., Inc., 698 F.2d 1011, 1016 (9th Cir. 1983). Lacking a defined
                   9   market, it is impossible to determine whether the State Bar had market power.
                10     See Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 459 (1993) (explaining “the
                11     dangerous probability of monopolization in an attempt case . . . requires inquiry into
                12     the relevant product and geographic market and the defendant’s economic power in
                13     that market”); Walker Process Equip., Inc. v. Food Mach. & Chem. Corp., 382 U.S.
                14     172, 177 (1965) (“Without a definition of that market there is no way to measure [a
                15     defendant’s] ability to lessen or destroy competition.”).
                16           Second, Plaintiffs’ allegations about anticompetitive activity are sorely
                17     lacking. Absent from the FAC are typical allegations of anticompetitive conduct
                18     recognized by courts, such as “(1) charging monopolist prices; (2) discontinuing
                19     support for and development of [acquired products; and] (3) bundling [products to
                20     further enhance marketshare].” Free FreeHand Corp. v. Adobe Sys. Inc., 852 F.
                21     Supp. 2d 1171, 1180 (N.D. Cal. 2012). Rather, the FAC alleges merely that “Tyler
                22     Technologies and the State Bar of California joined in anticompetitive behavior
                23     which benefitted lawyers.” (FAC ¶ 96.) This bald allegation is deficient; it does not
                24     describe any specific anticompetitive conduct.
                25           The only plausible inference from the FAC and incorporated documents is
                26     that the State Bar worked to remedy the Incident as quickly and completely as
                27     possible. Insofar as the FAC alleges negligence by the State Bar related to the
                28     Incident, such a claim will not support antitrust liability. Compare Hunt-Wesson
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                   1   Foods, Inc. v. Ragu Foods, Inc., 627 F.2d 919, 924 (9th Cir. 1980) (ruling Section 2
                   2   claims require “willful acquisition or maintenance” of monopoly power) (emphasis
                   3   added) with Allstate Indem. Co. v. Lewis, 985 F. Supp. 1341, 1347 (M.D. Ala. 1997)
                   4   (“Negligence, by definition, is not an intentional tort”). And insofar as the FAC
                   5   alleges that the State Bar took no action or did not act quickly enough in response to
                   6   the Incident, neither would satisfy the requirement that Plaintiffs must plead
                   7   affirmative acts of anticompetitive conduct. Verizon Commc’ns Inc. v. L. Offs. of
                   8   Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004) (“To safeguard the incentive to
                   9   innovate, the possession of monopoly power will not be found unlawful unless it is
                10     accompanied by an element of anticompetitive conduct.”).
                11           Third, the FAC does not establish a cognizable causal antitrust injury, which
                12     must be “injury to the market or to competition in general, not merely injury to
                13     individuals.” McGlinchy v. Shell Chem. Co., 845 F.2d 802, 812 (9th Cir. 1988).
                14     “Where the defendant’s conduct harms the plaintiff without adversely affecting
                15     competition generally, there is no antitrust injury.” Paladin Assocs. v. Mont. Power
                16     Co., 328 F.3d 1145, 1158 (9th Cir. 2003). The conclusory harm that Plaintiffs
                17     allege—that some attorneys with disciplinary complaints disclosed in the Incident
                18     might not get hired—is speculative and, even if accepted, does not plausibly reduce
                19     competition in the “legal profession.” (FAC ¶ 99.) It is thus not an antitrust injury.
                20     Plaintiffs also fail to offer even conclusory allegations of a “probability of success,”
                21     let alone a dangerous one, or one that rises above the speculative level.
                22           Given the above, no Section 2 claim can survive. Viriyapanthu v. State Bar of
                23     Cal., 813 Fed. App’x. 312, 313 (9th Cir. 2020) (holding that conclusory accusations
                24     of conspiracy against the State Bar of California were properly dismissed for failure
                25     to state a claim). The Section 2 claim must be dismissed.
                26                  ii.   Defendants Are Immune from Antitrust Liability
                27           A state entity is immune from antitrust liability when its activities are
                28     (1) subject to active state supervision and (2) is undertaken pursuant to a clearly
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                   1   articulated state policy. N.C. State Bd. of Dental Exam’rs v. FTC, 574 U.S. 494,
                   2   503–04 (2015). Under this two-part test, the State Bar is immune from antitrust
                   3   claims asserted in the FAC that allege liability arising from the State Bar’s authority
                   4   to regulate and discipline attorneys.10
                   5         It is well established that the State Bar is immune for actions taken pursuant to
                   6   its disciplinary authority. That is because the State Bar administers the disciplinary
                   7   process pursuant to state law, and its decisions are subject to final approval from the
                   8   California Supreme Court. See Cal. Bus. & Prof. Code §§ 6001–02; Hoover v.
                   9   Ronwin, 466 U.S. 558, 573 (1984). At its core, the FAC alleges that the State Bar
                10     misused its disciplinary authority to harm certain lawyers; namely, solo
                11     practitioners. The Odyssey Portal and the Docket Data it contains are necessary
                12     components of the State Bar’s disciplinary process; the State Bar would not be able
                13     to run its disciplinary proceedings without the ability to retain or manage the records
                14     related to those proceedings.      Notably, the purported antitrust injury from the
                15     Incident is that certain lawyers would reputationally suffer if anyone learned about
                16     the complaints against them. (See, e.g., FAC ¶ 86 (alleging the State Bar “mainly
                17     disciplines solo practitioners and consumer lawyers that represent plaintiffs against
                18     large corporations, insurance companies, or the government”).) Because that alleged
                19     injury necessarily arises from the State Bar’s execution of its disciplinary authority,
                20     the State Bar is immune from antitrust liability here.
                21           Multiple federal courts have held that state bars are immune from liability
                22     under the Sherman Act. See, e.g., Bates v. State Bar of Ariz., 433 U.S. 350 (1977)
                23     (holding that the Sherman Act did not apply to the State Bar of Arizona); Goldfarb
                24
                25
                       10
                          Plaintiffs allege that “the State Bar of California is not entitled to Parker state-
                       action immunity because it is controlled in part by marketplace participants.” (FAC
                26     ¶ 103.) But in Dental Examiners, the U.S. Supreme Court ruled that a state
                       regulatory board controlled by market participants may “invoke state-action antitrust
                27     immunity” so long as it “satisf[ies] [the] active supervision requirement.” 574 U.S.
                       at 496. Moreover, following Dental Examiners, the State Bar adopted an antitrust
                28     policy to meet the requirements set forth by the Supreme Court. See State Bar
                       Antitrust Policy, dated Sept. 26, 2017, available at https://tinyurl.com/vbursk2h.
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                   1   v. Va. State Bar, 421 U.S. 773 (1975); Lawline v. Am. Bar Ass’n, 738 F. Supp. 288
                   2   (N.D. Ill. 1990), aff’d, 956 F.2d 1378 (7th Cir. 1992) (holding Illinois State Bar
                   3   Association and Chicago Bar Association are immune from liability under Section
                   4   2). The same should hold true here.
                   5                iii.   Section 3 of the Sherman Act Does Not Apply
                   6         Section 3 of the Sherman Act applies to “[e]very contract, combination in
                   7   form of trust or otherwise, or conspiracy, in restraint of trade or commerce in any
                   8   Territory of the United States or of the District of Columbia, or in restraint of trade
                   9   or commerce between any such Territory and another, or between any such Territory
                10     or Territories and any State or States or the District of Columbia, or with foreign
                11     nations, or between the District of Columbia and any State or States or foreign
                12     nations, is declared illegal.”   15 U.S.C.A. § 3 (emphasis added).           The alleged
                13     violation of the Sherman Act in this case took place in California, which is not a
                14     Territory of the United States or the District of Columbia. (See FAC ¶ 109.)
                15     Therefore, this claim, brought in alternative to Plaintiffs’ fourth cause of action,
                16     should be dismissed. (See id. ¶¶ 106–11.)
                17                  iv.    Plaintiffs’ Section 3 Allegations Would Also Fail to State a
                                           Claim under Section 1
                18
                19           Even if this Court were to analyze Plaintiffs’ Section 3 claim under the rubric
                20     of Section 1 of the Sherman Act (which the Court has no obligation to do), it fails
                21     for all of the same reasons that the Section 2 claim fails: Plaintiffs fail to adequately
                22     allege a relevant market, intent to monopolize, or cognizable anticompetitive
                23     activity, and the State Bar is immune from liability under the Sherman Act.
                24           Further, Plaintiffs have not pled sufficient facts to support their claim that
                25     Defendants “monopolize, or attempt to monopolize, or combine or conspire with any
                26     other person or persons, to monopolize” legal services in California. 15 U.S.C. § 3.
                27     “‘Congress intended to outlaw only unreasonable restraints’” under the Sherman
                28     Act. Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006) (quoting State Oil Co. v.
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                   1   Khan, 522 U.S. 3, 10 (1997)). “[M]ost antitrust claims are analyzed under a ‘rule of
                   2   reason,’ according to which the finder of fact must decide whether the questioned
                   3   practice imposes an unreasonable restraint on competition, taking into account a
                   4   variety of factors.” State Oil, 522 U.S. at 10. Plaintiffs allege that the State Bar
                   5   “unlawfully restrained competition of lawyers by unduly hindering the lawyers
                   6   whose confidential information was breached from employing his or her talents,
                   7   industry or capital in a lawful undertaking or attempted to do so, thus keeping the
                   8   public from receiving legal services as freely as it would without such restraints.”
                   9   (FAC ¶ 109.) Once again, this claim presents only a threadbare conclusion without
                10     any factual allegations.   As such, Plaintiffs’ Section 3 claim does not meet
                11     Twombly’s pleading standard and must be dismissed.
                12           E.     PLAINTIFFS’ ANONYMOUS PLEADING IS IMPROPER
                13           Federal Rule of Civil Procedure 10(a) requires that a complaint “name all the
                14     parties.” A plaintiff may proceed under a pseudonym after she has sought and been
                15     granted leave from the court.     See Doe v. U.S. Healthworks Inc., 2016 WL
                16     11745513, at *6 (C.D. Cal. Feb. 4, 2016) (dismissing complaint for improper
                17     pseudonymous pleading). Plaintiffs have not sought or obtained leave to proceed
                18     pseudonymously, and their use of fictitious names is improper and prejudicial to the
                19     State Bar.   Specifically, the State Bar cannot sufficiently investigate Plaintiffs’
                20     allegations without knowing their names. The use of fictitious names is especially
                21     improper when Plaintiffs are obligated to first submit administrative claims under
                22     the CTCA before proceeding in court. While Plaintiffs vaguely allege that a single
                23     administrative claim “was filed,” (FAC ¶ 42), they do not say which Plaintiff filed
                24     this claim, and the State Bar is unable to match the name on any administrative
                25     claim it may have received with Jane and John Roes. See Section IV.A.ii, supra.
                26           F.     PLAINTIFFS’ CLAIMS FOR EQUITABLE RELIEF SHOULD BE DISMISSED
                27           To obtain injunctive relief, Plaintiffs must show that they (1) “personally
                28     would benefit in a tangible way” from the requested injunction and are
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                                                               24            STATE BAR’S MOTION TO DISMISS FAC
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                   1   (2) “realistically threatened by a repetition of the violation.” Dugas, 2016 WL
                   2   6523428, at *8 (internal quotation and citation omitted). Neither element is met.
                   3         Plaintiffs fail to allege that they would accrue personal benefit from an
                   4   injunction. Once the State Bar became aware of the issue concerning the Odyssey
                   5   Portal, it immediately took remedial steps, including securing the removal of all
                   6   Docket Data from JudyRecords.com. The State Bar also regularly updated the
                   7   public about the Incident and its response, including—despite not being bound by
                   8   the IPA—voluntarily notifying the approximately 1,300 individuals with Viewed
                   9   Records that certain limited information about them was inadvertently disclosed.
                10     (Ex. B at 1.) There could be no personal benefit to Plaintiffs from any injunction.
                11           Furthermore, Plaintiffs allege no facts supporting that they are “realistically
                12     threatened by a repetition of the violation.” Dugas, 2016 WL 6523428, at *8. The
                13     only allegation of a data-related event prior to the Incident is a conclusory, two-
                14     sentence paragraph that identifies no actual disclosure of bar members’ information
                15     or any misconduct by the State Bar.          (See FAC ¶ 40.)       Thus, Plaintiffs’ own
                16     allegations show only that the Incident was an unprecedented event. Accordingly,
                17     Plaintiffs are not entitled to injunctive or other equitable relief.
                18     V.    CONCLUSION
                19           Courts consider five factors in determining whether a motion to dismiss
                20     should be granted with, or without, prejudice, including “bad faith, undue delay,
                21     prejudice to the opposing party, futility of amendment, and whether the plaintiff has
                22     previously amended the complaint.” Johnson v. Buckley, 356 F.3d 1067, 1077 (9th
                23     Cir. 2004). Importantly, “[f]utility alone can justify the denial of a motion to
                24     amend.” Id. As discussed above, Plaintiffs’ already-amended FAC suffers several
                25     fatal deficiencies to each of its claims, which cannot be cured through another
                26     amendment. No leave to amend is warranted in these circumstances.
                27           For the foregoing reasons, the State Bar respectfully requests that the Court
                28     grant its motion and dismiss the FAC with prejudice.
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                   1   Dated: June 6, 2022                  COOLEY LLP
                   2
                                                             /s/ Tiana Demas
                   3                                         Tiana Demas
                   4
                                                             Attorneys for Defendant
                   5                                         THE STATE BAR OF CALIFORNIA
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